             Case 1:18-cr-00204-NGG                   Document 969 Filed 10/30/20                        Page 1 of 11 PageID #:
                                                                17485
AO 245B {Rev. 09/19) Judgment in a Criminal Case
                       Sheet I




                                       United States District Court
                                                        Eastern District ofNew York

               UNITED STATES OF AMERICA                                   j JUDGMENT IN A CRIMINAL CASE
                                  V-                                     )
                                                                          J Case Number: CR 18-0204(S-2)(NGG)
                     KEITH RANIERE                                       )          USM Number:           57005-177
                                                                         )
                                                                         )          Marc A. AfinlFilo, Esq.
                                                                          \       Defendant's Attorney
THE DEFENDANT:                                            ^
X was found guilty byjury verdict on Counts 1. 2,6, 7,8,9 & 10 ofthe Superseding Indictment(S-2).
□pleaded nolo contendere to count(s)
 which was accepted by the court.
□ was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended               Count
SEE PAGE 2 OF
JUDGMENT




        The defendant is sentenced as provided in pages 2 through              11        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
X     Any underlying Indictment is dismissed by motion of the United States.
X     Counts 3,4,5 & 11 of the Superseding Indictment (S-2) are dismissed by motion of the United States before trial.
□ Count(s)                                             □ is       □ are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attomey for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defendant must notify the court and United States attomey of material changes in economic circumstances.

                                                                        October 27.2020
                                                                        Date of Imposition of Judgment




                                                                        Sigitature of Judge                     (7



                                                                        Nicholas G. Garaufis, U.S.D.J.
                                                                        Name and Title of Judge


                                                                        October 30. 2020
                                                                        Date
           Case 1:18-cr-00204-NGG                 Document 969 Filed 10/30/20   Page 2 of 11 PageID #:
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                     Sheet lA


DEFENDANT:                KEITH RANIERE                                                                  ^
CASE NUMBER:              CR 18-0204(S-2)(NGG)

                                       ADDITIONAL COUNTS OF CONVICTION


              Offense:

              Count 1:
              RACKETEERING CONSPIRACY
              18 U.S.C. §1962(d), 18 U.S.C. §1963(a)
             Not more than life imprisonment/$250,000 fine
             (Class A Felony)

              Count 2:
              RACKETEERING
             18 U.S.C. §1962(c), 18 U.S.C. §1963(a)
             Not more than life imprisonment/$250,000 fine
             (Class A Felony)

              Count 6:
             FORCED LABOR CONSPIRACY
              18 U.S.C. §1594(b)
             Not more than 20 years imprisonment/$250,000 fine
             (Class C Felony)

              Count 7:
              WIRE FRAUD CONSPIRACY
              18 U.S.C. §1349,18 U.S.C. §1343
             Not more than 20 years imprisonment/$250,000 fine
             (Class C Felony)

              Count 8:
             SEX TRAFFICKING CONSPIRACY
             18 U.S.C. §1594(0), 18 U.S.C. §1591(b)(1)
             15 years to life imprisonment/$250,000 fine
             (Class A Felony)

              Count 9:
             SEX TRAFFICKING OF JANE DOE 5
              18 U.S.C. §1591(a)(l), 18 U.S.C. §1591(b)(l)
              15 years to life imprisonment/$250,000 fine
             (Class A Felony)

             Count 10:
             ATTEMPTED SEX TRAFFICKING OF JANE DOE 8
              18 U.S.C. §1594(a), 18 U.S.C. §1591(b)(1)
             15 years to life imprisonment/$250,000 fine
             (Class A Felony)
            Case 1:18-cr-00204-NGG               Document 969 Filed 10/30/20                     Page 3 of 11 PageID #:
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AO 24SB (Rev.09/19) Judgment in Criminal Case
                     Sheet 2 — Imprisonment
                                                                                                  Judgment — Page       of   II
 DEFENDANT:                   KEITH RANIERE
CASE NUMBER:                  CR 18-0204(S-2)(NGG)

                                                         IMPRISONMENT

          The defendant is hereby committed to the custody ofthe Federal Bureau of Prisons to be imprisoned for a
total term of:       SEE PAGE 4 OF JUDGMENT.




     □ The court makes the following recommendations to the Bureau of Prisons:




      X The defendant is remanded to the custody of the United States Marshal.

     □ The defendant shall surrender to the United States Marshal for this district:

          □ at                                  □ a.m.      □ p.m.       on
          □ as notifled by the United States Marshal.

     □ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          □ before 2 p.m. on
          □ as notified by the United States Marshal.

          □ as notified by the Probation or Pretrial Services Office.


                                                               RETURN

1 have executed this judgment as follows:




          Defendant delivered on                                                       to


at                                               , with a certified copy of this Judgment.



                                                                                                UNITED STATES MARSHAL



                                                                        By
                                                                                             DEPUTY UNITED STATES MARSHAL
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                     Sheet 2A — Imprisonment
                                                                                   Judgment—Page   4   of   11
DEFENDANT:                  KEITH RANIERE
CASE NUMBER:                CR 18-0204(S-2)(NGG)

                                           ADDITIONAL IMPRISONMENT TERMS


FORTY(40)YEARS(480 MONTHS)(GAG)ON COUNT ONE(1)OF THE SUPERSEDING INDICTMENT(S-2)TO
BE SERVED CONCURRENTLY WITH THE SENTENCE ON COUNT 2 AND CONSECUTIVELY WITH ALL OTHER

SENTENCES IMPOSED;

FORTY(40)YEARS(480 MONTHS)(CAG)ON COUNT TWO(2)OF THE SUPERSEDING INDICTMENT(S-2)TO
BE SERVED CONCURRENTLY WITH THE SENTENCE IMPOSED ON COUNT I AND CONSECUTIVELY WITH

ALL OTHER SENTENCES IMPOSED;


TWENTY(20)YEARS(240 MONTHS)(CAG)ON COUNT SIX(6)OF THE SUPERSEDING INDICTMENT(S-2)TO
BE SERVED CONSECUTIVELY WITH ALL OTHER SENTENCES IMPOSED;


TWENTY(20)YEARS(240 MONTHS)(CAG)ON COUNT SEVEN(7)OF THE SUPERSEDING INDICTMENT(S-2)
TO BE SERVED CONSECUTIVELY WITH ALL OTHER SENTENCES IMPOSED;

FORTY(40)YEARS(480 MONTHS)(CAG)ON COUNT EIGHT(8)OF THE SUPERSEDING INDICTMENT(S-2)TO
BE SERVED CONCURRENTLY WITH THE SENTENCES IMPOSED ON COUNTS 9 AND 10, AND
CONSECUTIVELY WITH ALL OTHER SENTENCES IMPOSED;

FORTY(40)YEARS(480)MONTHS(CAG)ON COUNT NINE(9)OF THE SUPERSEDING INDICTMENT(S-2)TO
BE SERVED CONCURRENTLY WITH THE SENTENCES ON COUNTS 8 AND 10, AND CONSECUTIVELY WITH
ALL OTHER SENTENCES IMPOSED;


FORTY(40)YEARS(480)MONTHS(CAG)ON COUNT TEN(10)OF THE SUPERSEDING INDICTMENT(S-2)TO
BE SERVED CONCURRENTLY WITH THE SENTENCES ON COUNTS 8 AND 9, AND CONSECUTIVELY WITH
ALL OTHER SENTENCES IMPOSED.


TO SUMMARIZE,THIS IS A CUMULATIVE SENTENCE OF 120 YEARS(CAG).
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AO 24SB(Rev. 09/19) Judgment in a Criminal Case
                       Sheet 3 — Supervised Release
                                                                                                       Judgment—Page     5     of       11
DEFENDANT:                    KEITH RANIERE
CASE NUMBER;                  OR 18-0204(S-2)(NGG)
                                                         SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: FIVE(5)YEARS ON COUNT ONE(I)
OF THE SUPERSEDING INDICTMENT(S-2). FIVE(5)YEARS ON COUNT TWO(2)OF THE SUPERSEDING INDICTMENT(S-
2). THREE(3)YEARS ON COUNT SIX(6)OF THE SUPERSEDING INDICTMENT (S-2). THREE(3)YEARS ON COUNT SEVEN
(7)OF THE SUPERSEDING INDICTMENT(S-2). A LIFETIME TERM ON COUNT EIGHT(8)OF THE SUPERSEDING
INDICTMENT(S-2). A LIFETIME TERM ON COUNT NINE(9)OF THE SUPERSEDING INDICTMENT(S-2). A LIFETIME TERM
ON COUNT TEN (10)OF THE SUPERSEDING INDICTMENT(S-2). ALL TERMS OF SUPERVISED RELEASE TO BE SERVED
CONCURRENTLY WITH ONE ANOTHER.




                                                      MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days ofrelease from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           □ The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse, (check if applicable)
4.      □ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution, (check if applicable)
3.      □ You must cooperate in the collection of DNA as directed by the probation officer, (check if applicable)
6.      □ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, etseq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense, (check if applicable)
7.      □ You must participate in an approved program for domestic violence, (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 3A — Supervised Release
                                                                                                Judgment—Page                  of
DEFENDANT:                    KEITH RANIERE
CASE NUMBER:                  OR 18-0204(8-2)(NOG)

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identity the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.
1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal Judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements(such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware ofa change or expected change.
      You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
      You must work full time (at least 30 hours per week)at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your Job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation o^cer within 72 hours of
      becoming aware ofa change or expected change.
      You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission ofthe
      probation officer.
9.  If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own,possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose ofcausing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission ofthe court.
12.   Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions ofthe probation officer related to the conditions ofsupervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthis
Judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
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           Case       Judgment in a Criminal Case     Document 969 Filed 10/30/20     Page 7 of 11 PageID #:
                      Sheet 3D —'Supervised Release             17491
                                                                                         Judgment—Page   7    of   II
DEFENDANT:                 KEITH RANIERE
CASE NUMBER:               OR 18-0204(S-2)(NGG)

                                        SPECIAL CONDITIONS OF SUPERVISION

                  #1. The defendant shall comply with any applicable state and/or federal sex offender
                  registration requirements, as instructed by the probation officer, the Bureau ofPrisons, or
                  any state offender registration agency in the state where he resides, works, or is a student;
                  #2. The defendant shall participate in a mental health treatment program, which may
                  include participation in a treatment program for sexual disorders, as approved by the U.S.
                  Probation Department. The defendant shall contribute to the cost ofsuch services rendered
                  and/or any psychotropic medications prescribed to the degree he is reasonably able, and
                  shall cooperate in securing any applicable third-party payment. The defendant shall disclose
                  all financial information and documents to the Probation Department to assess his ability to
                  pay. As part ofthe treatment program for sexual disorders, the defendant shall participate in
                 polygraph examinations to obtain information necessary for risk management and
                 correctional treatment;

                 #3. The defendant shall not associate with or have any contact with convicted sex offenders
                 unless in a therapeutic setting and with the permission ofthe U.S. Probation Department;
                 #4. The defendant shall not associate with children under the age of 18, unless a responsible
                 adult is present and he has prior approval from the Probation Department. Prior approval
                 does not apply to contacts which are not known in advance by the defendant where children
                 are accompanied by a parent or guardian or for incidental contacts in a public setting. Any
                 such non-pre-approved contacts with children must be reported to the Probation Department
                 as soon as practicable, but no later than 12 hours. Upon commencing supervision, the
                 defendant shall provide to the Probation Department the identity and contact information
                 regarding any family members or friends with children under the age of 18, whom the
                 defendant expects to have routine contact with, so that the parents or guardians ofthese
                 children may be contacted and the Probation Department can approve routine family and
                 social interactions such as holidays and other family gatherings where such children are
                 present and supervised by parents or guardians without individual approval ofeach event;
                #5. Ifthe defendant cohabitates with an individual who has residential custody of minor
                children, the defendant will inform that other party ofhis prior criminal history concerning
                his sex offense. Moreover, he will notify the party ofhis prohibition ofassociating with any
                child(ren) under the age of 18, unless a responsible adult is present;
                #6. The defendant shall submit his person, property, house, residence, vehicle, papers,
                computers(as defined in 18 U.S.C.§ 1030(e)(1)), other electronic communications or data
                storage devices or media, or office, to a search conducted by a United States probation
                officer. Failure to submit to a search may be grounds for revocation ofrelease. The
                defendant shall warn any other occupants that the premises may be subject to searches
                pursuant to this condition. An officer may conduct a search pursuant to this condition only
                when reasonable suspicion exists that the defendant has violated a condition of his
                supervision and that the areas to be searched contain evidence ofthis violation.
                Any search must be conducted at a reasonable time and in a reasonable manner;
          Case
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                      Judgment in a Criminal Case   Document 969 Filed 10/30/20     Page 8 of 11 PageID #:
                      Sheet 4C — Probation                    17492
                                                                                        Judgment—Page   8   of   II
DEFENDANT:                 KEITH RANIERE
CASE NUMBER:               OR 18-0204(S-2)(NGG)

                                        SPECIAL CONDITIONS OF SUPERVISION

                 #7. The defendant is not to use a computer,Intemet capable device, or similar electronic
                 device to access pornography ofany kind. The term "pornography" shall include images or
                 video ofadults or minors engaged in "sexually explicit conduct" as that term is defined in
                 Title 18, U.S.C. § 2256(2). The defendant shall also not use a computer, Intemet capable
                 device or similar electronic device to view images ofnaked children. The defendant shall
                 not use his computer to view pornography or images ofnaked children stored on related
                 computer media,such as CDs or DVDs,and shall not communicate via his computer with
                 any individual or group who promotes the sexual abuse ofchildren. The defendant shall also
                 cooperate with the U.S. Probation Department's Computer and Intemet Monitoring program.
                 Cooperation shall include, but not be limited to, identifying computer systems,Intemet
                 capable devices, and/or similar electronic devices the defendant has access to, and allowing
                 the installation of monitoring software/hardware on said devices, at the defendant's expense.
                 The defendant shall inform all parties that access a monitored computer, or similar
                 electronic device, that the device is subject to search and monitoring. The defendant may be
                 limited to possessing only one personal Intemet capable device, to facilitate the Probation
                 Department's ability to effectively monitor his/her Intemet related activities. The defendant
                 shall also permit random examinations of said computer systems,Intemet capable devices,
                 similar electronic devices, and related computer media, such as CDs, under his control.

                #8. The defendant shall report to the Probation Department any and all electronic
                communications service accounts(as defined in 18 U.S.C. § 2510(15))used for user
                communications, dissemination and/or storage of digital media files (i.e. audio, video,
                images). This includes, but is not limited to, email accounts, social media accounts, and
                cloud storage accounts. The defendant shall provide each account identifier and password,
                and shall report the creation of new accounts, changes in identifiers and/or passwords,
                transfer, suspension and/or deletion ofany account within 5 days of such action. Failure to
                provide accurate account information may be grounds for revocation ofrelease. The
                defendant shall permit the Probation Department to access and search any account(s) using
                the defendant's credentials pursuant to this condition only when reasonable suspicion exists
                that the defendant has violated a condition of his supervision and that the account(s) to be
                searched contains evidence ofthis violation. Failure to submit to such a search may be
                grounds for revocation of release.

                #9. Upon request, the defendant shall provide the U.S. Probation Department with full
                disclosure of his financial records, including co-mingled income, expenses, assets and
                liabilities, to include yearly income tax returns. With the exception ofthe financial accounts
                reported and noted within the presentence report, the defendant is prohibited firom
                maintaining and/or opening any additional individual and/orjoint checking, savings, or other
                financial accounts,for either personal or business purposes, without the knowledge and
                approval ofthe U.S. Probation Department. The defendant shall cooperate with the
                probation officer in the investigation of his financial dealings and shall provide truthful
                monthly statements of his income and expenses. The defendant shall cooperate in the
                signing ofany necessary authorization to release information forms permitting the U.S.
                Probation Department access to his financial information and records;
          Case
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                      Judgment in a Criminal Case   Document 969 Filed 10/30/20   Page 9 of 11 PageID #:
                      Sheet 4D — Probation                    17493
                                                                                     Judgment—Page   9   of   H
DEFENDANT:                  KEITH RANIERE
CASE NUMBER:               OR 18-0204(S-2)(NGG)

                                         SPECIAL CONDITIONS OF SUPERVISION


  #10. The defendant shall not have contact with any ofthe named victims of his offenses.
  This means that he shall not attempt to meet in person, communicate by letter, telephone, or
 through a third party, without the ^owledge and permission ofthe Probation Department;
 #11. The defendant shall not associate in person, through mail, electronic mail or telephone
 with any individual with an afi^liation to Executive Success Programs, Nxivm,DOS or any
 other Nxivm-afiRliated organizations; nor shall the defendant frequent any establishment, or
 other locale where these groups may meet pursuant, but not limited to, a prohibition list
 provided by the U.S. Probation Department;

 #12. The defendant shall comply with the fine payment order;

 #13. The defendant shall comply with the attached Order ofForfeiture.
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                      Sheet 5 — Criminal Monetary Penalties
                                                                                                   Judgment — Page      10    of         11
DEFENDANT:                         KEITH RANIERE
CASE NUMBER:                      CR 18-0204(S-2)(NGG)
                                              CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment               Restitution             Fine                Judglncnt                     JVTA Assessment**
TOTALS             $ 700.00                 $ TBD                 S    1,750,000.00     S N/A                        S 15,000.00


□ The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case(A0245C) will be
     entered after such determination.


□ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 IT.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                               Total Loss***                     Restitution Ordered                    Priority or Percentage




TOTALS



□     Restitution amount ordered pursuant to plea agreement $

□     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

□     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      □ the interest requirement is waived for the            □ fine   □ restitution.

      □ the interest requirement for the           □ fine      □ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
   Justice for Victims of Trafficking Act of2015. Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 6 — Schedule ofPayments

                                                                                                         Judgment — Page     11     of          II
DEFENDANT:                 KEITH RANIERE
CASE NUMBER:               CR 18-0204(S-2)(NGG)

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:
A     X Special Assessment of$ 700.00                       due immediately, balance due

           □     not later than                               , or
           □     in accordance with □ C,        □ D,        □ E,or        □ F below; or

B     □                                                                □               D, or     □ F below); or

      X    Fine Payment of $1,750,000.00 due immediately.
c    □                                                                                                        _ over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    □ Payment in equal                       (e.g., weekly, monthly, quarterly) installments of S                 over a period of
                    (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
       term of supervision; or


     X     JVTA assessment of $15,000.00

F    X     Order of Restitution to be determined
           An Order of Restitution must be submitted within 90 days from October 27,2020.




                                                                                                                                           due during
                                                                                                                                            ' Inmate



The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



□    Joint and Several

     Case Number
     Defendant and Co-Defendant Names                                                Joint and Several                Corresponding Payee,
     (including defendant number)                      Total Amount                       Amount                          if appropriate




□    The defendant shall pay the cost of prosecution.

□    The defendant shall pay the following court cost(s):

□ The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, Q) restitution principal, (3) restitution interest, (4) AVAA assessment,
(S) fine principal, (o) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
